        Case 1:21-cr-00282-TSC Document 40 Filed 07/21/21 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA              :
                                      :
            v.                        :     Case No. 21-cr-282 (TSC)
                                      :
ELLIOT BISHAI,                        :
                   Defendant.         :


                           NOTICE OF APPEARANCE

      NOW COMES the undersigned, Donald M. Brown, Jr., and does hereby give

NOTICE OF APPEARANCE on behalf of the Defendant, ELLIOT BISHAI.



Dated: May 19, 2021



/s/ Donald M. Brown, Jr.
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